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 5
       Attorney for Defendants
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 7
 8
 9                             UNITED STATES DISTRICT COURT
10                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11     ANDREW McKEVITZ,                        Case No: 3:19-cv-00540-W-MDD
12
                         Plaintiff,
13     v.                                       NOTICE OF APPEARANCE
14                                              Judge: Hon. Thomas J. Whelan
       CAPITAL ALLIANCE GROUP,
15     CAPITAL ALLIANCE PARTNERS,
16     LLC, NARIN CHARANVATTANAKIT
       aka NARIN CHARIN and MARK
17     MENDOZA
18                   Defendants.
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        NOTICE OF APPEARANCE                                      3:19-cv-00540-W-MDD
     Case 3:19-cv-00540-W-MDD Document 42 Filed 09/26/19 PageID.239 Page 2 of 2




 1     TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE that William R. Restis files this Notice of
 3     Appearance in the above captioned matter on behalf of Defendants CAPITAL
 4     ALLIANCE GROUP, CAPITAL ALLIANCE PARTNERS, LLC, NARIN
 5     CHARANVATTANAKIT aka NARIN CHARIN and MARK MENDOZA. I am
 6     admitted to practice in the Southern District of California and my California bar
 7     number is 246823. Please amend your service list to include:
 8                      William R. Restis, Esq.
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                        San Diego, CA 92101
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12
13     Dated: September 26, 2019                    Respectfully submitted,
14
                                                    THE RESTIS LAW FIRM, P.C.
15
16                                                  /s/ William R. Restis ___
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        NOTICE OF APPEARANCE                                             3:19-cv-00540-W-MDD
